     17-12845-smb         Doc 2    Filed 10/12/17     Entered 10/12/17 08:21:43         defntc11     Pg 1
                                                      of 1
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF NEW YORK
                                           One Bowling Green
                                        New York, NY 10004−1408


IN RE: Albert M. Lefkovits                               CASE NO.: 17−12845−smb

Social Security/Taxpayer ID/Employer ID/Other Nos.:      CHAPTER: 11
xxx−xx−1764



         DEFICIENCY NOTICE FOR INDIVIDUAL DEBTORS IN CHAPTER 11 AND 12 CASES



PLEASE TAKE NOTICE that the documents appearing below must be filed with the Court by the applicable
deadline:

Attorney Disclosure Statement due 10/25/2017             * Schedule E/F: Creditors Who Have Unsecured Claims
Ch 11 Income Form 122B due 10/25/2017                    (Official Form 106E/F) due 10/25/2017
Certificate of Credit Counseling due 10/11/2017          Schedule G: Executory Contracts and Unexpired Leases
Pay Stubs, Payment Advices or Other Evidence of          (Official Form 106G) due 10/25/2017
Payment due 10/25/2017                                   Schedule H: Your Codebtors (Official Form 106H) due
* Schedule A/B: Property (Official Form 106A/B) due      10/25/2017
10/25/2017                                               * Schedule I: Your Income (Official Form 106I)1 due
Schedule C: The Property You Claim as Exempt (Official   10/25/2017
Form 106C) due 10/25/2017                                * Schedule J: Your Expenses (Official Form 106J)1 due
* Schedule D: Creditors Who Hold Claims Secured By       10/25/2017
Property (Official Form 106D) due 10/25/2017             * Statement of Financial Affairs due 10/25/2017
                                                         Summary of Assets and Liabilities due 10/25/2017


PLEASE TAKE FURTHER NOTICE that the failure to file timely any required document may result in the dismissal
of your case after notice and hearing.


Dated: October 12, 2017                                               Vito Genna
                                                                      Clerk of Court
